Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 1 of 40 PageID 786




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                            FORT MYERS DIVISION

C. S.,

         Plaintiff,

v.                                            Case No.: 2:20-cv-639-JES-MRM

WYNDHAM HOTELS & RESORTS,
INC., HANUMAN OF NAPLES,
LLC, SHREE SIDDHIVINAYAK
HOSPITALITY, LLC, H. I.
NAPLES, LLC and HOLIDAY
HOSPITALITY FRANCHISING,
LLC,

         Defendants.
                                       /

                       REPORT AND RECOMMENDATION 1

         This cause comes before the Court on Plaintiff’s Motion to Proceed

Anonymously and for Entry of a Protective Order, filed on February 24, 2021. (Doc.

63). Defendants filed responses in opposition to Plaintiff’s motion. (See Docs. 68,



1
  The motion was referred to the Undersigned. The Eleventh Circuit has held that
“a ruling that modifies a protective order to revoke protections that conceal a party’s
identity and private information from allegedly dangerous actors qualifies as a
collateral order.” In re Chiquita Brands Int’l, Inc., 965 F.3d 1238, 1245-46 (11th Cir.
2020). Additionally, “a magistrate judge may not . . . enter any other final order or
judgment that would be appealable if entered by a district judge, but a magistrate
judge may file a report and recommendation concerning these matters.” In re
Proposed Amendments to the Local Rules of the United States District Court for the Middle
District of Florida, No. 8:20-mc-00100-SDM, Doc. 3 at 4 (M.D. Fla. Oct. 29, 2020); see
also M.D. Fla. R. 1.02(b). For these reasons, the Undersigned submits this Report
and Recommendation to the presiding United States District Judge.
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 2 of 40 PageID 787




76, 77). Additionally, Defendants in a related case propose an alternative protective

order. See S.Y. v. Marriott International, Inc. et al., No. 2:20-cv-00627-JES-MRM, Doc.

63-2 (M.D. Fla. Mar. 10, 2021). Plaintiff has not filed a reply in this case or any

related case. This matter is ripe for review. For the reasons set forth in this Report

and Recommendation, the Undersigned recommends that Plaintiff’s Motion to

Proceed Anonymously and for Entry of a Protective Order (Doc. 63) be GRANTED

in part and DENIED in part. 2

                                   BACKGROUND

      This action began in the Circuit Court of the Twentieth Judicial Circuit in and

for Collier County, Florida on October 30, 2019, when Plaintiff and another alleged

victim of sex trafficking sued over forty Defendant hotels. See S.Y. v. Naples Hotel Co.,

No. 2:20-cv-00118-JES-MRM, Doc. 1 at 3 (M.D. Fla. Feb. 21, 2020). 3 The case was

removed to this Court on February 21, 2020. Id. On August 5, 2020, the Court



2
   The Undersigned finds good cause to enter the same Report and Recommendation
on Plaintiff’s motion in each severed case brought by Plaintiff S.Y. or Plaintiff C.S.
(the “related cases”) stemming from the first-filed case, S.Y. v. Naples Hotel Co., No.
2:20-cv-118-JES-MRM, for several reasons. First, because the parties are similarly
situated procedurally, a common order on anonymity and discovery procedure is
appropriate. Second, the parties’ briefing in all twenty-nine related cases is
substantially similar. Third, a finding that Plaintiff is entitled to extensive protection
in one case would be rendered essentially meaningless by a finding of minimal or no
protection in one of the related cases brought by the same Plaintiff or her former co-
Plaintiff.
3
  Unless otherwise specified, pinpoint citations for documents filed in CM/ECF
refer to the page number in the CM/ECF legend at the top of the page, not the
pagination of the document itself.



                                            2
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 3 of 40 PageID 788




determined that severing the action was appropriate, see S.Y. v. Naples Hotel Co., 476

F. Supp. 3d 1251, 1256 (M.D. Fla. 2020), and, therefore, Plaintiff filed nine

individual cases, including this case, against various hotel defendants.

      The operative Complaint in this case was filed on August 19, 2020, and alleges

that Plaintiff was the victim of sex trafficking from 2015 through 2016 at Defendants’

hotel premises. (Doc. 1 at ¶ 101). Relevant to this motion, Plaintiff seeks to hold

Defendants liable under the Trafficking Victims Protection Reauthorization Act

(“TVPRA”), 18 U.S.C. § 1595(a). (See Doc. 1).

      In her motion, Plaintiff essentially requests that: (1) she be permitted to

proceed anonymously 4 in all public filings and in all public Court proceedings until

the time of trial; and (2) the Court enter her proposed protective order (Doc. 63-2) to

regulate how Defendants use and share her True Identity. (See Doc. 63 at 2). 5

      Specifically, within Plaintiff’s request for the entry of a Protective Order,

Plaintiff seeks to: (1) keep Plaintiff’s True Identity “confidential during and after the



4
   The parties use the terms “anonymously” and “pseudonymously” interchangeably
in their papers. Because Plaintiff seeks to use her actual initials as a pseudonym in
lieu of disclosing her full name in the public record, the term “pseudonymously”
more accurately describes the relief requested. For the sake of judicial economy,
however, the Undersigned does not attempt to split that etymological hair in this
Report and Recommendation and uses the terms interchangeably as well.
5
  The Undersigned adopts Plaintiff’s definition of her “True Identity,” which
includes her names and aliases used at any time, date of birth, social security
number, current and prior addresses, phone numbers, email addresses, social media
or online user account names, photographs of Plaintiff, Plaintiff’s likeness, and the
names of Plaintiff’s parents, siblings, and/or children. (Doc. 63-2 at 2).



                                            3
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 4 of 40 PageID 789




conclusion of this matter,” (Doc. 63-2 at 5); (2) require fact witnesses to sign an

agreement to be bound by the proposed protective order, (see id. at 10), before

Defendants may disclose Plaintiff’s True Identity to any fact witnesses, (id. at 6); (3)

prevent Defendants from disclosing Plaintiff’s True Identity to Plaintiff’s alleged

traffickers, (id.); (4) require Defendants to meet and confer with Plaintiff before any

contact with Plaintiff’s alleged traffickers, (id.); and (5) require the parties to use a

pseudonym in place of Plaintiff’s True Identity in all public filings “submitted during

the pre-trial proceedings in this litigation,” (id. at 7). Additionally, while not

addressed in her motion, Plaintiff’s proposed protective order protects the identities

of other alleged victims of sex trafficking by (1) requiring the parties to keep the

identities of “Sex Trafficking Victims confidential during and after the conclusion of

this matter,” (id. at 5), (2) limiting who the parties may share alleged sex trafficking

victims’ identities with, (id. at 5-6), and (3) requiring the parties to redact or to use a

pseudonym in place of any victim of sex trafficking’s identity in all public filings

“submitted during the pre-trial proceedings in this litigation,” (id. at 7). Notably,

Plaintiff’s proposed protective order seeks to impose the above limitations while

simultaneously allowing the unrestricted “use of Protected Material of the Producing

Party by the Producing Party.” (Id. at 5).

       The Undersigned addresses Plaintiff’s requests and proposed protective

measures below.




                                              4
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 5 of 40 PageID 790




      A.     Whether Plaintiff Should Be Permitted to Proceed
             Under a Pseudonym.

             1.     Arguments

      To begin, while several Defendants in the related cases do not oppose

Plaintiff’s request to proceed pseudonymously through pretrial public filings, other

Defendants do. Compare S.Y. v. Naples Hotel Co., No. 2:20-cv-00118-JES-MRM, Doc.

339 (M.D. Fla. Mar. 10, 2021), with S.Y. v. Uomini & Kudai, LLC, No. 2:20-cv-00602-

JES-MRM, Doc. 51 (M.D. Fla. Mar. 17, 2021). Therefore, the Undersigned treats

Plaintiff’s request to proceed anonymously as opposed.

      Plaintiff argues that she should be permitted to proceed with her action

anonymously, using only her initials, because she will be “required to disclose

information of the utmost intimacy if her name is disclosed.” (Doc. 63 at 2, 6

(citations omitted)). She contends that her status as a sex trafficking victim is highly

sensitive and the nature of her claims will necessitate discovery involving

“descriptions of [Plaintiff] in various stages of nudity and engaged in explicit sexual

conduct that she was forced and coerced to engage in by her sex traffickers.” (Id. at

7).

      Plaintiff also asserts that she should be permitted to proceed anonymously

through this action due to the potential for psychological and physical harm. (Id. at

11). Specifically, Plaintiff contends that “she reasonably fears that she will be subject

to harm and retaliation from her [traffickers and their] associates” if she cannot

proceed anonymously. (Id.). Additionally, she claims that the “stigma attached to




                                            5
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 6 of 40 PageID 791




sexual assault . . . could harm her professional relationships and future career

aspirations.” (Id.).

       Plaintiff also argues that “granting [the request to proceed anonymously] will

in no way prejudice the Defendants’ ability [sic] to defend itself [sic] in this

litigation.” (Id. at 7 (citing Fla. Abolitionist, Inc. v. Backpage.com LLC, No. 6:17-cv-

00218-Orl-28TBS, 2018 WL 2017535, at *2 (M.D. Fla. May 1, 2018) (permitting the

plaintiffs to proceed anonymously but requiring them to provide the defendants with

their true identities))). In support of this contention, Plaintiff states that she will

provide Defendants with her True Identity and the identities of her traffickers “in a

non-public manner,” “upon the entry of a Protective Order.” (Id. at 8, 12 (citations

omitted)).

       In sum, Plaintiff concludes that she should be permitted to proceed

anonymously because: (1) she will be compelled to divulge information of the

utmost intimacy as a victim of sex trafficking if her identity is revealed on the public

record, (id. at 2, 6); (2) there is a possibility that she will face the threat of physical

harm at the hands of her traffickers or their associates if her identity is revealed, (id.

at 11); (3) there is a possibility that her employment and social prospects will be

harmed if her identity is revealed on the public docket, (id.); (4) Defendants will not

be prejudiced because Plaintiff will provide them with her True Identity in a “non-

public manner,” (id. at 8, 12); and (5) the public’s interest in access to judicial

proceedings will not be meaningfully offended because all other aspects of the record

will remain public, (id. at 12).


                                              6
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 7 of 40 PageID 792




       In response, the Defendants who object to Plaintiff’s request to proceed

anonymously generally argue that Plaintiff failed to meet her burden to overcome the

“constitutionally-embedded [sic] presumption of openness in judicial pleadings” by

failing to provide sufficient evidence for her arguments. See Doe v. Stegall, 653 F.2d

180, 186 (5th Cir. 1981).

       Several Defendants also generally argue that permitting Plaintiff to proceed

anonymously would be inequitable in light of Plaintiff’s apparent national media

campaign by which Plaintiff and Plaintiff’s counsel placed Defendants and this

litigation into the public spotlight. See Corinne Ramey, Lawsuits Accuse Big Hotel

Chains of Allowing Sex Trafficking, The Wall Street Journal (Mar. 4, 2020, 5:30 AM),

https://www.wsj.com/articles/lawsuits-accuse-big-hotel-chains-of-allowing-sex-

trafficking-11583317800 (detailing Plaintiff’s accusations and naming several

Defendant hotels); see also Doe v. N. Carolina Cent. Univ., No. 1:98-cv-01095, 1999 WL

1939248, at *4 (M.D.N.C. Apr. 15, 1999) (denying a plaintiff’s motion to proceed

anonymously based in part on the plaintiff’s attorney’s statements to the media about

the case). Certain Defendants specifically contend that it would be inequitable to

permit Plaintiff to avoid public scrutiny when Plaintiff’s counsel was quoted in the

media stating: “[t]hese [Defendant hotels] permitted open sex trafficking to occur at

each of their locations.” See S.Y. v. Uomini & Kudai, LLC, No. 2:20-cv-00602-JES-

MRM, Doc. 51 at 7 (M.D. Fla. Mar. 17, 2021) (quoting Jake Allen & Ryan Mills, 22

Collier County Hotels, Motels Accused of Permitting Sex Trafficking, Lawsuit Claims, Naples

Daily News (Feb. 11, 2020, 12:14 PM),


                                             7
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 8 of 40 PageID 793




https://www.naplesnews.com/story/news/local /2020/02/06/22-naples-hotels-

and-motels-did-nothing-stop-sex-trafficking-2015-and-2016-collier-

county/4565268002/; Lawsuit Claims Florida Hotels Didn’t Stop Sex Trafficking, The

Washington Times: Associated Press (Feb. 9 2020),

https://www.washingtontimes.com/news/2020/feb/9/lawsuit-claims-florida-

hotels-didnt-stop-sex-traff/). Some Defendants also emphasize that, along with

voluntarily providing national news outlets with her story and Defendants’ names,

Plaintiff provided the media with her initials and Plaintiff S.Y. posed for a partially

obscured photo in The Wall Street Journal. See Corinne Ramey, Lawsuits Accuse Big

Hotel Chains of Allowing Sex Trafficking, The Wall Street Journal (Mar. 4, 2020, 5:30

AM), https://www.wsj.com/articles/lawsuits-accuse-big-hotel-chains-of-allowing-

sex-trafficking-11583317800.

             2.     Legal Standard

      Federal Rule of Civil Procedure 10(a) requires that “every pleading” in federal

court “name all the parties.” Fed. R. Civ. P. 10(a). This rule “protects the public’s

legitimate interest in knowing all of the facts involved, including the identities of the

parties.” Plaintiff B v. Francis, 631 F.3d 1310, 1315 (11th Cir. 2011). Although this

creates a “strong presumption in favor of parties proceeding in their own names . . .

the rule is not absolute.” Id. A party may proceed anonymously or pseudonymously

by establishing “a substantial privacy right which outweighs the ‘customary and

constitutionally-embedded presumption of openness in judicial proceedings.’” Doe v.




                                            8
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 9 of 40 PageID 794




Frank, 951 F.2d 320, 323 (11th Cir. 1992) (quoting Doe v. Stegall, 653 F.2d 180, 186

(5th Cir. 1981)).

      Whether a party’s right to privacy outweighs the presumption of judicial

openness is a “totality-of-the-circumstances question.” In re Chiquita Brands Int’l Inc.,

965 F.3d 1238, 1247 n.5 (11th Cir. 2020). The Eleventh Circuit has found that the

“first step” is to consider the three factors analyzed in Southern Methodist University

Association of Women Law Students v. Wynne & Jaffe, 599 F.2d 707, 712 (5th Cir. 1979)

(hereinafter “SMU”): “whether the party seeking anonymity (1) is challenging

government activity; (2) would be compelled, absent anonymity, to disclose

information of utmost intimacy; or (3) would be compelled, absent anonymity, to

admit an intent to engage in illegal conduct and thus risk criminal prosecution.” In re

Chiquita Brands Int’l Inc., 965 F.3d at 1247. Together with this step, the trial court

should “carefully review all the circumstances of a given case and then decide

whether the customary practice of disclosing the plaintiff’s identity should yield to

the plaintiff’s privacy concerns.” Id. (quoting Plaintiff B, 631 F.3d at 1316) (emphasis

in original). For example, the court may also consider “whether the plaintiffs were

minors, whether they were threatened with violence or physical harm by proceeding

in their own names, and whether their anonymity posed a unique threat of

fundamental unfairness to the defendant.” Plaintiff B, 631 F.3d at 1316; see also Doe v.

Neverson, 820 F. App’x 984, 986-87 (11th Cir. 2020). Whether a party will be




                                            9
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 10 of 40 PageID 795




 permitted to proceed anonymously is a matter within the court’s discretion. Id. at

 1315.

               3.     Analysis

         For the reasons set forth below, the Undersigned finds that Plaintiff has met

 her burden to proceed pseudonymously by establishing that her privacy rights and

 fear of harm outweigh the presumption of judicial openness. See In re Chiquita Brands

 Int’l, Inc., 965 F.3d at 1247.

                    i.       Whether, absent anonymity, Plaintiff will be compelled
                             to disclose information of the utmost intimacy.

         In determining whether Plaintiff should be permitted to proceed

 pseudonymously, the Undersigned considers the only relevant factor of the SMU

 test—i.e., whether the party seeking anonymity would be compelled, absent

 anonymity, to disclose information of the utmost intimacy. Id. (citing Plaintiff B, 631

 F.3d at 1316). While courts historically prevented plaintiffs alleging sexual assault

 from proceeding anonymously, modern courts consider “judicially recognized

 aggravating factors, such as whether the plaintiff was a minor, whether she was

 threatened with violence or physical harm, and whether anonymity posed a unique

 threat of fundamental unfairness to the defendant.” Fla. Abolitionist, Inc. v.

 Backpage.com LLC, No. 6:17-cv-00218-Orl-28TBS, 2018 WL 2017535, at *2 (M.D.

 Fla. May 1, 2018) (quotations omitted; citing Plaintiff B, 631 F.3d at 1316).

         Because Plaintiff will need to disclose her experience as an alleged sex

 trafficking victim—an experience that she claims involved forced sexual service,



                                            10
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 11 of 40 PageID 796




 physical assaults, and psychological torment, (see Doc. 63 at 2)—the Undersigned

 finds that Plaintiff’s experiences are “sensitive and highly personal in nature,” and

 denying Plaintiff’s motion would require her to disclose “information of the utmost

 intimacy.” See Plaintiff B, 631 F.3d at 1316-17. Accordingly, the Undersigned finds

 that the second SMU factor weighs heavily in favor of granting Plaintiff’s motion to

 proceed anonymously. See Fla. Abolitionist, Inc., 2018 WL 2017535, at *2 (permitting

 a plaintiff to proceed anonymously where she would be required to disclose

 information related to her victimization by sex traffickers and their clients); A.D. v.

 Wyndham Hotels & Resorts, Inc., No. 4:19-cv-00120, 2020 WL 5269758, at *2 (E.D.

 Va. Mar. 20, 2020), order clarified, No. 4:19-cv-00120, 2020 WL 8639343 (E.D. Va.

 July 30, 2020) (finding that a plaintiff could proceed anonymously where she alleged

 that she was regularly required to have sex for payment and beaten by her trafficker);

 Doe v. Penzato, No. CV10-5154 MEJ, 2011 WL 1833007, at *3 (N.D. Cal. May 13,

 2011) (granting a plaintiff’s request to proceed under a pseudonym where she alleged

 she was a victim of human trafficking, forced labor, and sexual battery).

                   ii.       Whether Plaintiff is at risk of retaliatory harm.

        Further, the Undersigned finds that the potential risk of retaliation by

 Plaintiff’s traffickers or their associates weighs in favor of granting Plaintiff’s request

 to proceed anonymously. Plaintiff alleges that her traffickers previously “attacked,

 drugged, and forced her into sexual acts.” (Doc. 63 at 9). Additionally, Plaintiff

 alleges that she was violently raped and beaten by her sex traffickers and their clients.




                                             11
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 12 of 40 PageID 797




 (See, e.g., Doc. 1 at ¶¶ 107, 145, 149). Plaintiff acknowledges, however, that her

 traffickers could likely identify her through her initials. (Doc. 63 at 14). Plaintiff

 also represents that at least two of her alleged traffickers are currently in prison. (Id.

 at 4).

          Based on these representations, combined with the widespread public

 dissemination of Plaintiff’s initials along with the names of her alleged traffickers, see,

 e.g., Jake Allen & Ryan Mills, 22 Collier County Hotels, Motels Accused of Permitting Sex

 Trafficking, Lawsuit Claims, Naples Daily News (Feb. 11, 2020, 12:14 PM),

 https://www.naplesnews.com/story/news/local /2020/02/06/22-naples-hotels-

 and-motels-did-nothing-stop-sex-trafficking-2015-and-2016-collier-

 county/4565268002/ (stating that Plaintiff S.Y. and Plaintiff C.S. were trafficked by

 Keith Lewis and Gregory Hines), the Undersigned is not persuaded by Plaintiff’s

 argument that proceeding pseudonymously through her initials will shield her

 involvement in this case from her traffickers.

          Nonetheless, the Undersigned finds that the potential risk of retaliation still

 weighs in favor of permitting Plaintiff to proceed pseudonymously as it may help her

 avoid potential detection by her alleged traffickers’ associates, who may not be fully

 aware of Plaintiff’s identity or initials, fully aware of this litigation, or presently

 incarcerated. See A.D. v. Wyndham Hotels & Resorts, Inc., No. 4:19-cv-00120, 2020

 WL 5269758, at *2 (E.D. Va. Mar. 20, 2020) (finding that a plaintiff could proceed

 anonymously based, inter alia, on the risk of her trafficker locating and harming her).

 Accordingly, the Undersigned finds that the potential risk of physical harm and


                                              12
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 13 of 40 PageID 798




 retaliation against Plaintiff by her alleged traffickers’ associates weighs in favor of

 permitting Plaintiff to proceed pseudonymously.

                   iii.       Whether Defendants are unfairly prejudiced by
                              Plaintiff’s use of a pseudonym.

        Moreover, the Undersigned finds that there is little risk of unfair prejudice to

 Defendants if Plaintiff is permitted to proceed in this action pseudonymously.

 Several Defendants argue that it would be patently unfair to permit Plaintiff to

 proceed anonymously given that her lawyers sought out national media attention for

 her claims. See, e.g., S.Y. v. Uomini & Kudai, LLC, No. 2:20-cv-00602-JES-MRM,

 Doc. 51 at 6-7 (M.D. Fla. Mar. 17, 2021) (citing Doe v. N. Carolina Cent. Univ., No.

 1:98-cv-01095, 1999 WL 1939248, at *4 (M.D.N.C. Apr. 15, 1999)). The

 Undersigned finds this argument unpersuasive. See Doe v. Cabrera, 307 F.R.D. 1, 9-

 10 (D.D.C. 2014) (holding that it is not unfair to a defendant to permit a plaintiff to

 proceed anonymously during pretrial proceedings despite the plaintiff’s troubling

 public media statements about her case).

        The Undersigned agrees that it seems incongruous for Plaintiff’s counsel to

 make public media statements about the litigation and Plaintiff’s alleged traffickers

 while also asking the Court and Defendants to go to great lengths to avoid drawing

 attention to Plaintiff’s identity. To allege that Plaintiff’s traffickers are violent

 individuals capable of harming and abusing Plaintiff, (see Doc. 63 at 12), and that

 “Plaintiff’s initials . . . are the essential link that would allow her traffickers to

 identify and target her,” (id. at 14), while simultaneously engaging in a national




                                               13
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 14 of 40 PageID 799




 media campaign through which Plaintiff’s initials were published along with the

 names of her traffickers in connection with the instant litigation, see Jake Allen &

 Ryan Mills, 22 Collier County Hotels, Motels Accused of Permitting Sex Trafficking, Lawsuit

 Claims, Naples Daily News (Feb. 11, 2020, 12:14 PM),

 https://www.naplesnews.com/story/news/local/2020/02/06/22-naples-hotels-and-

 motels-did-nothing-stop-sex-trafficking-2015-and-2016-collier-county/4565268002/,

 suggests a questionable lack of caution by Plaintiff’s counsel.

        Even though counsel’s actions put Plaintiff’s involvement with her traffickers

 and this case into the public spotlight, the Undersigned finds that it would not be

 unfair to permit Plaintiff to proceed pseudonymously outside of trial. See Cabrera,

 307 F.R.D. at 9-10. Defendants had the opportunity to respond to Plaintiff’s public

 allegations, Plaintiff’s counsel’s public statements never revealed Plaintiff’s entire

 True Identity, and any residual prejudice against Defendants as a result of Plaintiff’s

 media activity is likely minimal.

        Moreover, Plaintiff’s request to proceed pseudonymously is only meant to

 protect her True Identity from the public at large outside of trial because she has

 stated that she will share her True Identity with Defendants in a “non-public

 manner.” (Doc. 63 at 8, 12). Because Defendants will have access to Plaintiff’s True

 Identity, their discovery efforts will not be unfairly prejudiced. See B.M. v. Wyndham

 Hotels & Resorts, Inc., No. 20-cv-656-BLF, 2020 WL 4368214, at *10 (N.D. Cal. July

 30, 2020) (“Prejudice to Defendants is minimal because B.M. will agree to reveal her

 identity for purposes of investigating her claims.”); see also A.D. v. Wyndham Hotels &


                                             14
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 15 of 40 PageID 800




 Resorts, Inc., No. 4:19-cv-00120, 2020 WL 5269758, at *2 (E.D. Va. Mar. 20, 2020)

 (“There is very little risk of prejudice to Defendant in allowing Plaintiff to proceed

 under pseudonym [because] Plaintiff ‘is willing to provide her [identity] to the

 Defendant.’”); E.E.O.C. v. Spoa, LLC, No. CCB-13-1615, 2013 WL 5634337, at *4

 (D. Md. Oct. 15, 2013) (permitting a plaintiff to proceed pseudonymously where her

 identity was revealed to the defendant so that defendant could respond to the

 allegations).

                  iv.       Whether the public’s interest in open judicial
                            proceedings outweighs Plaintiff’s privacy rights.

        Finally, the Undersigned finds that the public’s interest in open judicial

 proceedings does not outweigh any of the above considerations when, as here, all

 aspects of the case, other than Plaintiff’s True Identity, will remain accessible on the

 public docket. See Doe v. Stegall, 653 F.2d 180, 185 (5th Cir. 1981) (“The assurance of

 fairness preserved by public presence at a trial is not lost when one party’s cause is

 pursued under a fictitious name.”).

        In sum, considering all the circumstances of this case, including the sensitive

 nature of the issues, the potential risk of harm to Plaintiff, the minimal risk of unfair

 prejudice to Defendants, and the public’s access to all other information on the

 docket, the Undersigned recommends that the presiding United States District Judge

 permit Plaintiff to proceed under a pseudonym outside of trial. See In re Chiquita

 Brands Int’l Inc., 965 F.3d 1238, 1247 (11th Cir. 2020). If Plaintiff seeks leave to

 proceed pseudonymously at trial, the presiding United States District Judge should




                                             15
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 16 of 40 PageID 801




 require her to file an appropriate motion seeking that relief no later than forty-five

 days before the final pretrial conference in this case. See Cabrera, 307 F.R.D. at 10

 (permitting a plaintiff to proceed anonymously during pretrial proceedings but

 holding that the plaintiff may not proceed anonymously at trial because of the risk of

 implicitly influencing the jury regarding the amount of harm the plaintiff suffered).

       Next, the Undersigned addresses the sufficiency of the actual protective order

 Plaintiff proposes and the requested protective measures set forth therein.

       B.     Whether Plaintiff Has Shown Good Cause for the Entry of Her
              Proposed Protective Order.

              1.     Arguments

       Plaintiff argues that good cause exists to limit the disclosure of her True

 Identity to her alleged traffickers because she has a “credible fear for the physical

 safety of herself and her family.” (Doc. 63 at 8). She argues that her proposed

 protective order “is based entirely on protecting [herself] from further abuse at the

 hands of her [traffickers], who she knows as able to perpetrate violence and abuse

 against her.” (Id. at 12). She also contends that any evidence offered by her alleged

 traffickers will be of “dubious probative value” and Defendants will have access to

 sufficient facts to investigate her claims by reviewing their own internal records. (Id.

 at 13-14). In sum, Plaintiff argues that good cause exists for the entry of her

 proposed protective order based on her fear of harm and Defendants’ abilities to

 investigate her claims despite the protections she seeks. (Id.). Additionally, while

 Plaintiff never expressly argues that the protections in her proposed protective order




                                            16
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 17 of 40 PageID 802




 should be extended to other victims of sex trafficking, she applies limitations to the

 parties’ use of their identities. As currently written, Plaintiff’s proposed protective

 order (1) defines other “Victim[s] of Sex Trafficking,” (Doc. 63-2 at 4), (2) requires

 the parties to keep the identities of “Sex Trafficking Victims confidential during and

 after the conclusion of this matter,” (id. at 5), (3) limits who the parties may share

 other alleged sex trafficking victims’ identities with, (id. at 5-6), and (4) requires the

 parties to redact or to use a pseudonym in place of any victim of sex trafficking’s

 identity in all public filings “submitted during the pre-trial proceedings in this

 litigation,” (id. at 7).

        In response, several Defendants argue that Plaintiff has failed to show good

 cause for the entry of her proposed protective order because she has only alleged a

 generalized, vague fear of retaliation from her traffickers. Some Defendants also

 argue that Plaintiff has performed actions inconsistent with her alleged fear of harm,

 referring to Plaintiff’s decisions to name her alleged traffickers in this lawsuit and

 communicate with national media outlets. In regard to other alleged victims of sex

 trafficking, Defendants left out any argument asserting the level of protection other

 potential victims’ identities should receive.

                2.      Legal Standard

        Under Federal Rule of Civil Procedure 26(c)(1), any “party or any person

 from whom discovery is sought may move for a protective order,” and the Court

 “may, for good cause, issue an order to protect a party or person from annoyance,

 embarrassment, oppression, or undue burden or expense.” Fed. R. Civ. P. 26(c)(1).


                                              17
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 18 of 40 PageID 803




 “The party seeking a protective order has the burden to demonstrate good cause, and

 must make ‘a particular and specific demonstration of fact as distinguished from

 stereotyped and conclusory statements’ supporting the need for a protective order.”

 Auto-Owners Ins. Co. v. Southeast Floating Docks, Inc., 231 F.R.D. 426, 429-30 (M.D.

 Fla. 2005) (citing U.S. v. Garrett, 571 F.2d 1323, 1326 n.3 (5th Cir. 1978)). The

 decision to enter a protective order is within the Court’s discretion and does not

 depend on a legal privilege. Id. at 429 (citing Farnsworth v. Procter & Gamble Co., 758

 F.2d 1545, 1548 (11th Cir. 1985)).

        The Eleventh Circuit has found that in determining whether to enter a

 protective order, courts must analyze: “(1) the severity and the likelihood of the

 perceived harm; (2) the precision with which the order is drawn; (3) the availability

 of a less onerous alternative; and (4) the duration of the order.” In re Alexander Grant

 & Co. Litig., 820 F.2d 352, 356 (11th Cir. 1987). However, these factors are not

 exhaustive and “the sole criterion for determining the validity of a protective order is

 the statutory requirement of ‘good cause’ . . . [, which] signifies a sound basis or

 legitimate need to take judicial action.” Id. Moreover, the most critical factor for the

 Court to analyze under Rule 26(c) is the “balancing of interests” between the parties.

 See In re Chiquita Brands Int’l, Inc., 965 F.3d at 1251.

               3.     Analysis

        The Undersigned finds that Plaintiff failed to show good cause for entering her

 proposed protective order as it is presently written. Plaintiff has, however, shown

 good cause entering a more limited protective order that protects Plaintiff’s True


                                              18
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 19 of 40 PageID 804




 Identity—and that of her former co-plaintiff S.Y.—while also allowing Defendants to

 effectively investigate and defend against Plaintiff’s claims. 6

                       i.     Whether Plaintiff’s proposed protective order balances
                              the parties’ interests.

          To begin, the Undersigned finds that Plaintiff’s proposed protective order, as

 written, fails to strike the appropriate balance between Plaintiff’s safety interests and

 Defendants’ interests in investigating and defending against Plaintiff’s claims. See In

 re Chiquita Brands Int’l, Inc., 965 F.3d at 1251. Rather, Plaintiff’s proposed protective

 order appears to be an eclectic list of excessively restrictive protective measures that

 are not meaningfully tailored to the specific circumstances in Plaintiff’s case. (See

 Doc. 63-2); see also In re Alexander Grant & Co. Litig., 820 F.2d 352, 356 (11th Cir.

 1987).

          Not only does Plaintiff propose restrictions that significantly hinder

 Defendants’ abilities to investigate her claims, Plaintiff also appears to propose that

 she be permitted to proceed with her own investigation unrestricted by the

 limitations imposed on Defendants. (Compare, e.g., Doc. 63-2 at 5 (“Nothing herein



 6
   For purposes of this Report and Recommendation, the Undersigned recommends
 that any protective order that restricts the use and disclosure of Plaintiff C.S.’s True
 Identity extend and apply equally to Plaintiff S.Y.’s True Identity, and vice versa,
 regardless of who the named Plaintiff is in the case. Because these plaintiffs’ cases
 are historically linked, the Undersigned finds that the disclosure of one plaintiff’s
 True Identity in a case in which she is not the named plaintiff would render
 meaningless any protective measures imposed in a case in which she is the named
 plaintiff. As a practical matter, therefore, the True Identity of C.S. must be protected
 in S.Y.’s case, and vice versa for a protective order to have any meaningful effect.



                                              19
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 20 of 40 PageID 805




 shall restrict the use of Protected Material of the Producing Party by the Producing

 Party.”) (emphasis added), with id. at 5-6 (“[T]he Parties may disclose Plaintiff’s

 Identity [to fact witnesses after they sign] the agreement to be bound by this

 Protective Order.”) (emphasis added)). These provisions are facially incompatible

 and Plaintiff cannot show good cause for a protective order containing them.

        Moreover, even if Plaintiff’s proposed protective order were to be rewritten, to

 the extent it may still seek to impose severe restrictions on Defendants’ abilities to

 disclose Plaintiff’s True Identity to fact witnesses while allowing for Plaintiff’s

 unrestricted use of the “Protected Material,” the Undersigned cannot find that the

 proposed protective order sufficiently balances the interests of the parties. See In re

 Chiquita Brands Int’l, Inc., 965 F.3d at 1251.

        Additionally, Plaintiff’s own proposed protective order contains multiple

 references to sections within the proposed protective order that do not exist. For

 example, the proposed protective order states: “whether disclosed by Plaintiff

 pursuant to Paragraph 6 above . . . designated pursuant to Section I.R. herein.” (Doc.

 63-2 at 6-7 (emphasis added)). Upon review of the proposed protective order,

 however, it seems that no such paragraph or section exists. While poor drafting

 alone is not a sufficient justification to reject Plaintiff’s proposed protective order in

 its entirety without modification, the prevalence of errors here renders Plaintiff’s

 proposed protective order contradictory and confusing such that it would be

 impossible to enforce as-is and too onerous for the Court to try to fix sua sponte.




                                             20
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 21 of 40 PageID 806




        On the whole, the Undersigned recommends rejecting Plaintiff’s proposed

 protective order as it is currently written. At base, the proposed protective order is

 poorly drafted and contains conflicting provisions that do not sufficiently delineate

 each parties’ duties regarding the protection of Plaintiff’s True Identity and the

 identities of other alleged victims of sex trafficking. (See Doc. 63-2).

        Despite these issues with the terms of the proposed protective order, the

 Undersigned finds that Plaintiff’s alleged fear of harm is nonetheless reasonable and

 credible. Plaintiff alleges that she was the victim of sex trafficking for one year from

 2015 through 2016. (Doc. 1 at ¶ 101). She alleges that her traffickers “attacked,

 drugged, and forced her into sexual acts.” (Doc. 63 at 9). Additionally, Plaintiff

 alleges that she was violently raped and beaten by her sex traffickers and their clients.

 (See, e.g., Doc. 1 at ¶¶ 107, 145, 149). With these horrifying allegations as a

 backdrop, Plaintiff’s fear of potential retaliation from her traffickers, their associates,

 or the other alleged abusers involved is both reasonable and credible. Thus, Plaintiff

 has established ample good cause for obtaining some form of protective order.

        While the Undersigned acknowledges the seriousness of these allegations and

 the importance of maintaining Plaintiff’s safety during this litigation and afterward,

 the Undersigned is compelled to acknowledge that Defendants will be unable to

 meaningfully investigate and defend against Plaintiff’s claims if they are not

 permitted to disclose Plaintiff’s True Identity to her alleged traffickers. Accordingly,

 the protective order issued here must be narrowly tailored to protect Plaintiff’s True

 Identity, the True Identity of her former co-plaintiff, and other victims of sex


                                             21
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 22 of 40 PageID 807




 trafficking, while also allowing Defendants to investigate and defend against

 Plaintiff’s claims.

        Courts facing substantially similar issues have used various approaches to

 attempt to balance the parties’ interests and needs. See, e.g., J.C. v. Choice Hotels Int’l,

 Inc., No. 20-cv-00155-WHO, 2021 WL 1146406, at *4 (N.D. Cal. Mar. 4, 2021)

 (finding good cause for the entry of a protective order that balances the parties’

 interests by: (1) requiring the defendants to submit an ex parte letter to the court of

 their intent to reveal the plaintiff’s identity to her traffickers; and (2) requiring

 witnesses to sign an agreement to be bound by the protective order before the

 plaintiff’s identity is revealed to them); A.D. v. Wyndham Hotels & Resorts, Inc., No.

 4:19-cv-00120, 2020 WL 8639346, at *2-4 (E.D. Va. Sept. 21, 2020) (permitting the

 defendant to disclose the plaintiff’s identity to her traffickers and any potential,

 anticipated, or actual fact witnesses, subject to the defendant notifying the court ex

 parte of its intent to contact the traffickers and requiring fact witnesses to sign an

 agreement to be bound by the protective order before they are given the plaintiff’s

 identity); A.C. v. Red Roof Inns, Inc., No. 2:19-cv-04965, 2020 WL 5361731, at *5

 (S.D. Ohio Sept. 8, 2020) (finding good cause for a protective order that requires

 counsel for the plaintiff and the defendants to meet and confer before the defendants

 can disclose the plaintiff’s identity to her known traffickers); see also E.S. v. Best W.

 Int’l, Inc., No. 3:20-cv-00050-M, 2021 WL 37458, at *3 (N.D. Tex. Jan. 4, 2021)

 (“After balancing the interests of both parties, the Court finds that certain restrictions




                                              22
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 23 of 40 PageID 808




 on Defendants’ disclosure of Plaintiff’s identity to her alleged trafficker are

 necessary.”).

        In view of the foregoing, the Undersigned next addresses the propriety of the

 protective measures Plaintiff requests.

                      ii.   Whether Plaintiff has demonstrated good cause to
                            prevent Defendants from disclosing Plaintiff’s True
                            Identity to her alleged traffickers.

        The Undersigned finds that Plaintiff has not met her burden to justify

 preventing Defendants from sharing any part of her True Identity with her alleged

 traffickers.

        In reaching this conclusion, the Undersigned notes that Plaintiff failed to

 address—in either her motion or her proposed protective order—the inclusion of two

 of her alleged traffickers, Gregory Hines and Keith Lewis, as defendants in both the

 original Complaint and First Amended Complaint of the first-filed case. See S.Y. v.

 Naples Hotel Co., No. 2:20-cv-00118-JES-MRM, Docs. 1, 3 (M.D. Fla. Mar. 10,

 2021). Additionally, Plaintiff failed to address her national media campaign,

 discussed supra, in which her initials were disclosed along with the names of two of

 her alleged traffickers.

        This is important because the Undersigned cannot ignore the apparent

 disconnect between Plaintiff’s actions—i.e., initially naming her alleged traffickers as

 Defendants in this litigation and disseminating her initials and information about this

 case through a national media campaign—on the one hand, and her statement that

 “[she] has a credible fear that her trafficker[s]—through [their] associates or


                                             23
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 24 of 40 PageID 809




 otherwise—might harm her again should [they] learn of this litigation,” on the other

 hand. (Doc. 63 at 9, 12). Specifically, by engaging in a national media campaign, in

 which Plaintiff supplied her initials, the names of her traffickers, and the existence of

 this litigation, her alleged traffickers have likely already been made aware of the

 litigation.

        Additionally, Plaintiff all but concedes that her traffickers can likely identify

 her through her own public representations. (See id. at 14 (“Plaintiff’s initials and

 identity are the essential link that would allow her traffickers to identify and target

 her.”)). Accordingly, Plaintiff cannot reasonably argue that Defendants will increase

 the potential of retaliatory harm against her by making her alleged traffickers aware

 of this litigation and sharing her True Identity with them, given that Plaintiff

 volunteered her own initials, which she admits are sufficient for the traffickers to

 identify her, in connection with this litigation in the public media.

        Notably, courts have permitted defendants to contact a plaintiff’s alleged

 trafficker, subject to certain restrictions, even when the plaintiff alleges more direct

 threats to her safety, including that the plaintiff’s trafficker repeatedly harmed her,

 harmed her child, and was not incarcerated. See A.C. v. Red Roof Inns, Inc., No. 2:19-

 cv-04965, 2020 WL 5361731, at *5 (S.D. Ohio Sept. 8, 2020) (permitting the

 defendants to disclose the plaintiff’s true identity to her alleged trafficker after

 engaging in a meet and confer with the plaintiff and, if no agreement was reached,

 filing a motion with the court explaining the necessity of the disclosure); A.D. v.

 Wyndham Hotels & Resorts, Inc., No. 4:19-cv-00120, 2020 WL 8639343, at *3 (E.D.


                                              24
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 25 of 40 PageID 810




 Va. July 30, 2020) (permitting the defendant to disclose the plaintiff’s true identity to

 her alleged trafficker(s) after providing the plaintiff with fourteen days’ notice and

 permitting the plaintiff to file a motion objecting to the disclosure within seven days).

       Further, Plaintiff’s argument that her traffickers’ testimony “has no probative

 value” is not persuasive. Plaintiff brings this action under the TVPRA. In providing

 civil remedies to victims of certain types of human trafficking, the TVPRA states:

              (a) An individual who is a victim of a violation of this
              chapter may bring a civil action against the perpetrator (or
              whoever knowingly benefits, financially or by receiving
              anything of value from participation in a venture which that
              person knew or should have known has engaged in an act
              in violation of this chapter) in an appropriate district court
              of the United States and may recover damages and
              reasonable attorneys fees.

 18 U.S.C. § 1595(a). The phrase “a violation of this chapter” refers to Chapter 77 of

 Title 18 of the United States Code. The only violation of Chapter 77 relevant here is

 contained within 18 U.S.C. § 1591(a), which provides:

              (a) Whoever knowingly –

              (1) in or affecting interstate or foreign commerce . . .
              recruits, entices, harbors, transports, provides, obtains,
              advertises, maintains, patronizes, or solicits by any means a
              person; or

              (2) benefits, financially or by receiving anything of value,
              from participation in a venture which has engaged in an act
              described in violation of paragraph (1),

              knowing, or, except where the act constituting the violation
              of paragraph (1) is advertising, in reckless disregard of the
              fact, that means of force, threats of force, fraud, coercion
              described in subsection (e)(2), or any combination of such
              means will be used to cause the person to engage in a



                                            25
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 26 of 40 PageID 811




               commercial sex act, or that the person has not attained the
               age of 18 years and will be caused to engage in a commercial
               sex act, shall be punished as provided in subsection (b).

 18 U.S.C. § 1591(a).

        Thus, to recover under her TVPRA claims, Plaintiff must establish that she is

 “a victim of violation of [18 U.S.C. § 1591(a)],” and she must also establish that

 Defendants (1) knowingly benefitted financially, (2) from participating in a venture,

 (3) which Defendants knew or should have known has engaged in sex trafficking

 under 18 U.S.C. § 1591(a). See S.Y., Plaintiff, v. Choice Hotels Int’l, Inc., No. 2:20-cv-

 00118-JES-MRM, 2021 WL 1688972, at *3 (M.D. Fla. Apr. 29, 2021).

        Despite arguing for present purposes that her traffickers’ testimony provides

 no probative value, Plaintiff actually alleges in her Complaint that: “[Defendants’]

 agents and employees made promises to [Plaintiff’s alleged sex traffickers] to not

 interfere with [Plaintiff] who was a victim of human sex trafficking and slavery,”

 (Doc. 1 at ¶ 98); “[Defendants] knew or had constructive knowledge, that the women

 with Plaintiff’s sex traffickers, including [Plaintiff], were used to carry out the

 commercial sex trade and sale of illegal drugs,” (id. at ¶ 115); and “[Defendants]

 rendered substantial assistance to Plaintiff’s sex traffickers and ‘Johns’ in carrying out

 her [sex trafficking and Defendants turned] a blind eye to the unlawful conduct

 taking place so they could obtain revenue from the renting of the rooms,” (id. at ¶

 264). These allegations plainly involve Defendants’ alleged interactions with

 Plaintiff’s traffickers and her traffickers’ actions. Accordingly, the Undersigned finds

 that Defendants cannot be prevented from contacting the alleged traffickers and


                                              26
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 27 of 40 PageID 812




 disclosing Plaintiff’s identity to them because the traffickers’ actions and testimony

 are potentially integral to defending against Plaintiff’s claims. Indeed, due process

 requires that Defendants be given an opportunity to present every available defense

 and Defendants, therefore, should be permitted to contact Plaintiff’s alleged

 traffickers and disclose Plaintiff’s identity to them if it is reasonably necessary to help

 the alleged traffickers recall, relate, or explain facts or testify about Plaintiff’s claims.

 See Lindsey v. Normet, 405 U.S. 56, 66 (1972).

        Additionally, Plaintiff’s claims are based on a central premise that Defendants

 are required to investigate sex trafficking operations on their properties. Significantly

 restricting Defendants’ abilities to communicate with witnesses who have relevant

 personal knowledge, facts, and testimony will impermissibly prejudice Defendants’

 abilities to defend against Plaintiff’s claims.

        Accordingly, the Undersigned finds that Defendants must be permitted to

 share at least some of Plaintiff’s identifying information with her alleged traffickers to

 the extent that the information is reasonably necessary to investigate and defend

 against Plaintiff’s claims. See A.D. v. Wyndham Hotels & Resorts, Inc., No. 4:19-cv-

 00120, 2020 WL 8639343, at *3 (E.D. Va. July 30, 2020) (“The restrictions proposed

 by [the plaintiff]—which would make it impossible for [the defendant] to question

 the alleged trafficker about the alleged trafficking of [the plaintiff] and difficult to

 depose the alleged trafficker at all—are too extreme.”).

        Instead of preventing Defendants from disclosing any identifying information,

 the Undersigned recommends that the presiding United States District Judge adopt a



                                              27
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 28 of 40 PageID 813




 more workable and practical approach that conserves judicial resources and serves

 judicial economy. Specifically, the Undersigned finds that Defendants should be

 limited in advance by court order to disclosing only certain identifying information

 about Plaintiff to her alleged traffickers that may be reasonably necessary for the

 alleged traffickers to recall, relate, or explain facts relevant to this litigation or to

 testify as to those facts. The Undersigned recommends that this identifying

 information be strictly limited to any names, aliases, pictures, or images used by or

 depicting Plaintiff or her likeness during the relevant time period (i.e., the time that

 Plaintiff alleges she was trafficked from 2013 through 2016). Defendants should not

 be permitted to reveal to the traffickers Plaintiff’s Social Security number, her date of

 birth, any names, aliases, pictures, or images used by or depicting Plaintiff or her

 likeness outside of the relevant time period, her contact information (including her

 addresses, phone numbers, email addresses, employers, schools) used at any time,

 her family members’ names, or any other identifying information falling within her

 True Identity, as that term is used here. Defendants should also not be permitted to

 reveal to the traffickers any information as to whether Plaintiff has moved to a

 different state or changed her name. The Undersigned finds that permitting the

 limited disclosures described above strikes an appropriate balance between the

 parties’ interests without prejudicing any Defendant’s ability to investigate and to

 defend against the claims in this litigation.




                                               28
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 29 of 40 PageID 814




                      iii.   Whether Plaintiff has demonstrated good cause to
                             require Defendants to notify or to meet and confer with
                             Plaintiff before contacting her alleged traffickers.

        Before disclosing identifying information about an alleged sex trafficking

 victim to an alleged trafficker, some courts have required a defendant to either: (1)

 meet and confer with the plaintiff’s counsel regarding the necessity of the defendant’s

 disclosure of the plaintiff’s identity, and if no agreement is reached, require the

 defendant to file a motion with the court requesting to make the disclosure, see A.C. v.

 Red Roof Inns, Inc., No. 2:19-cv-04965, 2020 WL 5361731, at *5 (S.D. Ohio Sept. 8,

 2020); or (2) file an ex parte motion with the court describing the necessity of the

 disclosure of the plaintiff’s identity, see A.D. v. Wyndham Hotels & Resorts, Inc., No.

 4:19-cv-00120, 2020 WL 8639346, at *3 (E.D. Va. Sept. 21, 2020). The Undersigned

 finds that these approaches are not appropriate or warranted in this case.

        The Undersigned finds that the meet-and-confer approach is not appropriate in

 this case because of Defendants’ stated concerns regarding the protection of attorney

 work product. See Hickman v. Taylor, 329 U.S. 495, 511 (1947) (finding that protected

 attorney work product is reflected in “interviews, statements, memorandum,

 correspondence, briefs, mental impressions, personal beliefs, and countless other

 tangible and intangible ways”). While it is no secret that Defendants intend to

 contact Plaintiff’s alleged traffickers, compulsory disclosure to Plaintiff of the timing,

 frequency, and extent of Defendants’ contact with the traffickers would likely reveal

 defense counsels’ strategies. See J.C. v. Choice Hotels Int’l, Inc., No. 20-cv-00155-

 WHO, 2021 WL 1146406, at *5 (N.D. Cal. Mar. 4, 2021) (holding that defendants


                                             29
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 30 of 40 PageID 815




 need not provide a plaintiff with notice whenever they contact the plaintiff’s alleged

 traffickers in light of the defendants’ work product confidentiality concerns).

        In addition, the Undersigned is not persuaded by Plaintiff’s argument that a

 notice requirement will allow “Plaintiff to take additional precautions in her daily life

 for a time following the Defendants’ attempted contact with her trafficker(s).” (See

 Doc. 63 at 17). Rather, the Undersigned finds that Plaintiff should be taking

 “precautions in her daily life” given that Plaintiff filed this lawsuit, initially named

 her traffickers as Defendants on the public docket, and brought national media

 attention to her claims. Moreover, Plaintiff and her former co-Plaintiff must have

 recognized that, as a result of bringing twenty-nine similar cases against multiple

 Defendant hotels, her traffickers would be contacted by each Defendant many times

 over the course of each action.

        Similarly, requiring Defendants to obtain Court approval by filing a motion—

 ex parte or otherwise—is not appropriate or warranted because it is not at all practical

 or realistic for the Court to meaningfully evaluate such a motion. Put simply, there

 is no way for this Court to reliably determine, on a disclosure-by-disclosure basis,

 whether any particular disclosure proposed by a defendant to any alleged trafficker

 will be dangerous for or harmful to Plaintiff such that the Court should prohibit the

 disclosure. Because the Court does not have the practical ability to determine

 whether any particular disclosure to any alleged trafficker at any time is more or less

 likely to present a danger to the Plaintiff, requiring a motion to be filed before each




                                             30
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 31 of 40 PageID 816




 and every contact with the alleged traffickers would be a meaningless exercise and a

 waste of judicial resources.

        The Undersigned is also not persuaded by Plaintiff’s argument that requiring

 Defendants to give notice to Plaintiff’s counsel and to obtain permission from the

 Court will reduce the possibility of inadvertent or inappropriate disclosures to

 Plaintiff’s alleged traffickers. Because Defendants’ disclosures will be governed by a

 protective order entered in advance of contacting the alleged traffickers, Defendants

 and their counsel will be well aware of what information they are or are not

 permitted to divulge and Defendants will be subject to sanctions, including a finding

 of contempt and entry of a default, if they fail to adhere to the protective order.

 Plaintiff has not adequately or convincingly demonstrated how requiring Defendants

 to give notice or obtain permission before contacting any alleged trafficker and

 revealing Plaintiff’s identity will reduce the potential for either inadvertent or

 inappropriate disclosures.

        Accordingly, the Undersigned finds that Plaintiff has not shown good cause

 for a protective measure that threatens to infringe upon or violate the work product

 protection. Nevertheless, the Undersigned finds that good cause exists for the entry

 of a protective order that incorporates the less restrictive protective measures

 recommended above without requiring Defendants to provide notice to Plaintiff or to

 obtain the Court’s approval before contacting the alleged traffickers.




                                             31
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 32 of 40 PageID 817




                     iv.    Whether Plaintiff has demonstrated good cause to
                            require other fact witnesses to sign an agreement to be
                            bound by the protective order.

       The Undersigned finds that Plaintiff has demonstrated the requisite good

 cause to require any other fact witness 7 to sign an agreement to be bound by the

 protective order before Defendants can reveal Plaintiff’s True Identity to the fact

 witness.

       Several Defendants argue generally that requiring potential fact witnesses to

 sign a protective order compelling them to maintain the confidentiality of Plaintiff’s

 True Identity would have a significant chilling effect on Defendants’ abilities to

 interview potential witnesses.

       Notwithstanding Defendants’ concerns, the Undersigned finds that there is

 good cause for this protective measure in light of the finding that Plaintiff is entitled

 to proceed anonymously during this litigation outside of the trial. Both an order

 permitting Plaintiff to proceed anonymously and a protective order limiting the

 disclosure of Plaintiff’s identifying information would be rendered practically

 meaningless if other fact witnesses are not required to or do not agree to be bound by

 the protective order. See J.C. v. Choice Hotels Int’l, Inc., No. 20-cv-00155-WHO, 2021

 WL 1146406, at *6 (N.D. Cal. Mar. 4, 2021) (“If a witness refuses to sign an

 agreement ensuring that protected information will not be further disseminated, I



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   The Undersigned finds that it would be impracticable or unrealistic to require the
 alleged traffickers to sign an agreement to be bound by the protective order.



                                             32
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 33 of 40 PageID 818




 would have ‘little confidence that the witness will keep [Plaintiff’s] identity . . .

 confidential.’” (quotation omitted)). Without requiring a fact witness to sign an

 agreement to be bound by the protective order, there is nothing preventing that

 witness from disclosing Plaintiff’s True Identity to other third parties.

        But the potential that a fact witness may refuse certainly exists and the parties

 may still wish to pursue obtaining information or testimony from the witness. If a

 fact witness refuses to sign an agreement to be bound by the protective order, the

 Undersigned recommends permitting Defendants to file an ex parte motion with the

 Court seeking leave to reveal Plaintiff’s True Identity to that fact witness upon a

 showing of good cause. Granting this relief will allow the Court to specify or

 narrowly tailor the identifying information, if any, to be disclosed to the witness

 based on the witness’s relevance to the action. Allowing the motion to be filed ex

 parte mitigates any concerns about infringing on attorney work product. Because the

 number of witnesses who refuse to agree to be bound by the protective order will

 likely be few, requiring an ex parte motion is not likely to unduly burden judicial

 resources.

        Thus, the Undersigned recommends requiring the parties to include a

 provision in their proposed protective order that would require potential, anticipated,

 or actual fact witnesses to review the protective order and sign a written agreement to

 be bound by the protective order, subject to any Defendant’s ability to file an ex parte

 motion upon a showing of good cause seeking the Court’s approval to disclose




                                             33
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 34 of 40 PageID 819




 Plaintiff’s identifying information to potential, anticipated, or actual fact witnesses

 who refuse to sign the agreement.

                      v.     Whether Plaintiff has demonstrated good cause to keep
                             her True Identity confidential during and after the
                             conclusion of this litigation.

        The Undersigned finds that Plaintiff has shown the requisite good cause for a

 protective order that requires her True Identity to be treated as confidential and not

 disclosed during this litigation—until trial—and after the conclusion of this litigation,

 except that disclosure may be made to: (1) the judges, officers, employees, and

 stenographic reporters of this Court; (2) counsel representing the parties (including

 supervisors and support personnel whose functions require access to the identities of

 Plaintiff and her traffickers); (3) any potential, anticipated, or actual fact witness and

 their counsel (subject to any additional restrictions applicable to disclosing Plaintiff’s

 True Identity to those witnesses and to Plaintiff’s alleged traffickers as required by

 the Court’s forthcoming order on this Report and Recommendation); (4)

 independent experts consulted or retained by counsel for assistance in the

 preparation or prosecution of claims or defenses in this action, to the extent

 reasonably necessary for such experts to prepare a written opinion or to prepare to

 testify or assist counsel and only if the expert agrees to be bound by the protective

 order; (5) other outside consultants or investigators retained specifically in

 connection with this litigation if the consultant or investigator agrees to be bound by

 the protective order; (6) independent providers of document reproduction, electronic

 discovery, or other litigation services retained or employed specifically in connection


                                             34
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 35 of 40 PageID 820




 with this litigation; (7) any mediator appointed by the Court or jointly selected by the

 parties; (8) government agencies and agency personnel, but only to the extent that

 the disclosure of Plaintiff’s True Identity is necessary to litigate any claim or defense

 or to comply with any legal obligation or requirement to disclose; and (9) any other

 person who is so designated by order of this Court or by written agreement of the

 parties for purposes of this litigation.

        Admittedly, it is awkward to recommend that Plaintiff’s True Identity remain

 confidential under the protective order after trial if Plaintiff is not ultimately

 permitted to proceed anonymously at trial. The Undersigned believes that

 continuing protection post-trial is nevertheless warranted and necessary because

 Defendants, their counsel, witnesses, and others who agree to be bound by the

 protective order will certainly obtain information regarding Plaintiff’s identity that is

 not divulged during the trial. For example, Plaintiff’s Social Security number,

 current address, current employer, email addresses, social media or online user

 account names, photographs, likeness, and the names of Plaintiff’s parents, siblings,

 and/or children may not be specifically disclosed or placed into the record during the

 course of trial even if she is not permitted to proceed anonymously at trial. That

 undisclosed identifying information should continue to be treated as confidential by

 the parties, witnesses, and others who agree to be bound by the protective order even

 after the conclusion of the trial because doing so incrementally reduces the risk of

 danger to Plaintiff’s safety and the safety of her family in the future.




                                              35
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 36 of 40 PageID 821




        As discussed above, if Plaintiff wishes to proceed anonymously at trial, the

 Undersigned recommends that Plaintiff be required to file a motion requesting leave

 to do so no less than forty-five days before the final pretrial conference.

                      vi.    Whether Plaintiff has demonstrated good cause to
                             prevent Defendants from revealing her traffickers’
                             identifying information on the public docket.

        The Undersigned finds that Plaintiff has not shown good cause to prevent

 Defendants from disclosing her alleged traffickers’ identifying information on the

 public docket.

        While Plaintiff’s motion proposes that “Defendants be prohibited from

 disclosing trafficker’s [sic] name or other identifying information on the public

 docket in this case,” (Doc. 63 at 8), she does not provide any argument or authority

 to support the request, nor does her proposed protective order contain a provision

 that would have the requested effect, (see Doc. 63-2). Nonetheless, several

 Defendants contend that Plaintiff seeks to prevent them from disclosing her alleged

 traffickers’ identities on the public docket.

        The Undersigned finds that Plaintiff has failed to demonstrate sufficient good

 cause to grant this request based on Plaintiff’s own continual identification of her

 traffickers’ names on the public docket and in her national media campaign. (See,

 e.g., Doc. 63 at 3-4); see also Corinne Ramey, Lawsuits Accuse Big Hotel Chains of

 Allowing Sex Trafficking, The Wall Street Journal (Mar. 4, 2020, 5:30 AM),

 https://www.wsj.com/articles/lawsuits-accuse-big-hotel-chains-of-allowing-sex-




                                             36
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 37 of 40 PageID 822




 trafficking-11583317800 (detailing Plaintiff’s accusations and naming several

 Defendant hotels).

                      vii.   Whether Plaintiff has demonstrated good cause to
                             protect the True Identity of other alleged victims of sex
                             trafficking.

       Plaintiff also seeks to extend the protections of the protective order to other

 alleged victims of sex trafficking, so designated under her proposed protective order.

 While Plaintiff’s proposed protective order defines the term “Victim of Sex

 Trafficking,” Plaintiff never expressly argues for an extension of the protective

 measures to other victims of sex trafficking or explains the mechanics of how those

 protections will be implemented for other victims. Nonetheless, the Undersigned

 finds good cause for the Court to enter an appropriately tailored protective order

 limiting the parties’ use of information identifying other victims of sex trafficking for

 the same reasons Plaintiff’s True Identity should be protected.

       During this litigation the parties will likely discover or reveal sensitive

 personal information regarding third parties who have endured experiences similar to

 Plaintiff’s experience. The same reasoning that applies to limit the disclosure of

 Plaintiff’s True Identity applies to limit the disclosure of any other victim’s True

 Identity, especially given that the other victim is not bringing an affirmative claim for

 relief and is not represented in these proceedings. Thus, the Undersigned finds that

 good cause exists to attempt to protect the identities of any other victims through an

 appropriately tailored protective order.




                                            37
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 38 of 40 PageID 823




       Specifically, the Undersigned recommends that the parties be required to craft

 and propose language in a modified proposed protective order that addresses all the

 issues identified above and also affirmatively extends the same or similar protections

 afforded to Plaintiff to other victims of sex trafficking with clearly defined procedures

 for, inter alia: designating persons as victims of sex trafficking; communicating that

 designation to persons bound by the protective order; and challenging any such

 designations that are disputed.

                                    CONCLUSION

       For all of the foregoing reasons, the Undersigned finds that Plaintiff should be

 permitted to proceed anonymously during this litigation outside of trial, at which

 time Plaintiff should be permitted to move, no less than forty-five days before the

 final pretrial conference, to proceed anonymously at trial. Additionally, the

 Undersigned finds that Plaintiff has failed to show good cause for the entry of her

 proposed protective order as it is currently written. The Undersigned finds, however,

 Plaintiff has shown good cause for the entry of a modified form of protective order

 that is consistent with the findings and limitations outlined herein.

       Accordingly, the Undersigned RESPECTFULLY RECOMMENDS that:

       1.     Plaintiff’s Motion to Proceed Anonymously and for Entry of a

              Protective Order (Doc. 63) be GRANTED in part and DENIED in

              part.




                                            38
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 39 of 40 PageID 824




       2.     Plaintiff be permitted to proceed pseudonymously throughout the

              course of these proceedings and referenced as “C.S.” or “Plaintiff” in all

              filings and Court proceedings, until the time of trial.

       3.     The parties be directed to submit a revised, stipulated protective order

              that contains identical provisions in all twenty-nine related S.Y. and

              C.S. cases, consistent with the Court’s ruling on this Report and

              Recommendation, within fourteen (14) days of the presiding United

              States District Judge’s ruling on this Report and Recommendation.

       4.     If Plaintiff seeks to proceed anonymously at trial, she should be

              required to file a motion seeking such relief no later than forty-five (45)

              days prior to the final pretrial conference.

       RESPECTFULLY RECOMMENDED in Chambers in Ft. Myers, Florida

 on June 11, 2021.




                                NOTICE TO PARTIES

       A party has fourteen days from this date to file written objections to the

 Report and Recommendation’s factual findings and legal conclusions. A party’s

 failure to file written objections waives that party’s right to challenge on appeal any




                                            39
Case 2:20-cv-00639-JES-MRM Document 84 Filed 06/11/21 Page 40 of 40 PageID 825




 unobjected-to factual finding or legal conclusion the district judge adopts from the

 Report and Recommendation. See 11th Cir. R. 3-1. A party wishing to respond to

 an objection may do so in writing fourteen days from the filing date of the objection.

 The parties are warned that the Court will not extend these deadlines. To expedite

 resolution, the parties may also file a joint notice waiving the fourteen-day objection

 period.




 Copies furnished to:


 Counsel of Record
 Unrepresented Parties




                                           40
